         Case 2:11-cr-00054-TLN-CKD Document 19 Filed 12/22/10 Page 1 of 2


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6

7                    IN THE UNITED STATES DISTRICT COURT
8                  FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10   UNITED STATES OF AMERICA,     )          CASE NO. 2:10-mj-0327 GGH
                                   )
11                  Plaintiff,     )
                                   )          STIPULATION AND ORDER TO
12        v.                       )          EXTEND TIME FOR PRELIMINARY
                                   )          EXAMINATION AND EXCLUDE TIME
13                                 )
     CHRISTOPHER JACKSON,          )
14                                 )
                    Defendant.     )
15   ______________________________)
16        The parties agree that time beginning January 17, 2011 and
17   extending through February 4, 2011 should be excluded from the
18   calculation of time under the Speedy Trial Act.        Further, the
19   Defendant consents to an extension of the time for preliminary
20   examination until February 4, 2011.      Fed. R. Crim. P. 5.1(d).
21   The parties submit that the ends of justice are served by the
22   Court excluding such time, for availability of counsel and so
23   that they may have reasonable time necessary for effective
24   preparation, taking into account the exercise of due diligence.
25   18 U.S.C. § 3161(h)(8)(B)(iv).     In particular, the time is
26   required so that the government and Defendant may exchange
27   information, including pre-indictment discovery, and analyze its
28   importance to the case.    This process was delayed due to counsel

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         Case 2:11-cr-00054-TLN-CKD Document 19 Filed 12/22/10 Page 2 of 2


1    for the Defendant’s family emergency.       The parties submit that
2    this interest of justice outweighs the interest of the public and
3    the Defendant in a speedy filing of an indictment or information,
4    in accordance with Title 18, United States Code, § 3161(b) and
5    (h)(8)(A), and further that this good cause outweighs the
6    public’s interest in the prompt disposition of criminal cases, in
7    accordance with Fed.R.Crim.P. 5.1(d).
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9                                            Respectfully Submitted,
10                                           BENJAMIN B. WAGNER
                                             United States Attorney
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12
     DATE: December 20, 2010          By:     /s/ Matt Segal
13                                           MATTHEW D. SEGAL
                                             Assistant U.S. Attorney
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15
     DATE: December 20, 2010                  /s/ Caro Marks by MDS
16                                           CARO MARKS
                                             Counsel for C. Jackson
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19   SO ORDERED.
20   DATED:   December 20, 2010
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                                      ___________________________
24                                    KENDALL J. NEWMAN
                                      UNITED STATES MAGISTRATE JUDGE
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